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  EXHIBIT B
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June 7, 2024



Tiffanie Current
7564 Forest Glen Rd
New Orleans, LA 70127



           Re:    Informal Hearing Decision of Proposed Termination of Housing Choice
                  Voucher Program (HCVP) Participation - Tiffanie Current


Dear Tiffanie Current:

You requested an Informal Hearing of HANO’s decision to terminate your HCVP participation. Your hearing
was held on April 1, 2024 at 9:00 AM. After reviewing the record and based upon the evidence presented
during the hearing the Proposed Termination of your HCVP participation is Upheld.

Hearing Participants

 Head of Household                  Tiffanie Current - In Person
 Participant’s Representative       Theresa Ambeau - Lawyer
 Principal Administrative Analyst   Chris Dalton
 HANO Staff                         Monica New
 Other - Other Representative       Lev Singer - In Person
 Other -                            -
 Other -                            -

Proposed Termination Allegations

             Violation                                      Alleged Actions
 Failure to Supply Required         HANO alleged: that you failed to supply information related to
 Information/Documents (24          income that you were receiving.
 CFR 982.551 (b) (2))

 Truthful and Complete              HANO alleged: that you supplied information to HANO that was
 Information (24 CFR 982.551        false or incomplete.
 (b)(4))

 Use and Occupancy of Unit:         HANO alleged:
 Unauthorized Family
 Composition (24 CFR 982.551
 (h)(2))
                                    HANO alleged:




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Findings of Fact

    1. HANO requested your tax return transcripts for 2022 and 2023 as part of an investigation
       into a complaint that was received.
    2. The tax return transcript showed that you reported wage income for 2022 and 2023 to the
       IRS that was not reported to HANO.
    3. HANO’s investigation also showed evidence that an unauthorized person, Jessie Harvey,
       was living with you in the assisted unit.
    4. HANO calculated that based on the income that was reported to the IRS HANO overpaid
       rent on your behalf in the total amount of $10,668.72.

Discussion and Conclusion

Due Process

HANO adequately provided you notice of your alleged violation on November 1, 2023. The notice stated
the authority on which the Housing Authority relied to reach its decision, and you were afforded an
opportunity to request a hearing.

Violation #1 – Failure To Supply Required Information/Documents (24 CFR 982.551 (B) (2))
During the hearing you stated that you were not sure whether the income reported to the IRS on your tax
return was correct. You stated that you are not able to read and did not know where your tax preparer
came up with the amounts used to file your taxes. You and your attorney were given a deadline of June 3,
2024, to file an amended tax return and provided documentation from the IRS that it had been done. On
May 24, 2024, your attorney provided a copy of 2 form 1040-X for amending tax returns that were filled out
showing no income for you for the disputed time periods. There was no indication that the forms had been
filed with the IRS but based on the information in the forms you would owe the IRS $19,856 if you filed the
amended returns. We would need official documentation from the IRS to show that they received the
amended return to calculate the correct amount owed to HANO, if anything.

Based on HANO’s calculations you owe $13,381. Your debt is over the threshold for a repayment
agreement. You are in violation of your family obligations and your assistance will be terminated.


Violation #2 Truthful and Complete Information (24 CFR 982.551 (b)(4))
Based on the evidence from HANO you failed to report income. You disputed the evidence, but the
documentation provided to support your dispute was not sufficient. You are in violation of your family
obligations.
Violation #3 Use and Occupancy of Unit: Unauthorized Family Composition (24 CFR 982.551 (h)(2))
During the hearing you testified that Jessie Harvey was the father of three of your children and that your
relationship with him ended in 2017. You stated that he was abusive during your relationship and that you
tried to stay away from him but that he got your address from his family member that picks up your children.
You stated that once he got your address, he started harassing you. You stated that you called the police
multiple times against him. As supporting evidence your attorney provided a copy of an order of protection
that you have against Mr. Harvey that was filed on December 5, 2023.

HANO’s evidence supports part of your statement as there are multiple police reports of you reporting
issues with Mr. Harvey. One of the reports shows that Mr. Harvey stated that the assisted unit was his
address. The other report dated September 23, 2023, had a statement taken by the officer in which he
quoted you as stating that Mr. Harvey had lived with you at the assisted unit for five months but had moved
out two weeks prior to that incident. You stated that you did not tell the officers that but did not elaborate
on why the officer would claim you made the

Based on the evidence it appears that Mr. Harvey did live with you for longer than HANO allows for guests
but that you were a victim of domestic violence during that time and as of now Mr. Harvey is no longer living
with you in the assisted unit.

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Decision

    1. HANO’s proposal to terminate your program participation is Upheld.
    2. Your HCVP assistance will be terminated effective July 31, 2024.

Sincerely,

Christopher Dalton
Christopher Dalton
Principal Administrative Analyst
Housing Authority of New Orleans

 CC:       File
           Monica New
           China Rhea

 Participant’s Name     Tiffanie Current
 Entity ID #            000081356




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